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Asher Smith

From:                                          Asher Smith
Sent:                                          Tuesday, December 29, 2020 5:31 PM
To:                                            Daniel Card
Cc:                                            Hintz, Heather L.; Wolfe, Thomas G.; Zeynep Graves; Caitlin Hawks
Subject:                                       PETA v. Lowe, et al., Case No. 5:20-cv-01076-D
Attachments:                                   PETA v. Lowe, et al. Case No 520-cv-01076-D.zip


Dan,

PETA is available to conduct the inspection and depositions any time between January 12 and 13 as well as January 16
through the end of the month. We would strongly prefer sooner than later. Please provide two consecutive days during
which we can complete the inspection and depositions.

In addition, in light of the Court’s order today recognizing substitute service on Mr. Yano and appointing you as counsel
for Mr. Yano, I have attached the pleadings from the Rule 27 proceeding in case you wish to forward to Mr. Yano.

I look forward to your prompt response.

Asher

Asher Smith | Litigation Manager
PETA Foundation
1536 16th St. NW
Washington, DC 20036



Admitted to practice law only in New York.

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                                                                                                                             EXHIBIT 2
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